Case 1:20-cr-00068-LEK Document 83-19 Filed 07/22/22 Page 1 of 2   PageID.941




                           EXHIBIT 20
Case 1:20-cr-00068-LEK Document 83-19 Filed 07/22/22 Page 2 of 2                                                     PageID.942


 From:              Lowell, Abbe
 To:                William C. McCorriston
 Subject:           RE: Nickie’s emails not getting through to me for waiver. Can you try contact her? Not picking up my calls/texts
 Date:              Thursday, August 27, 2020 10:19:00 PM




 BTW -- one aside that I might want to raise with Keller at some point-

 I had no idea that there was a taint team, that it found emails in which I was included, that they were reviewing as
 maybe someone's LDA violation, etc. SO how the F could it have influenced any of my advice to Nickie to give the
 DOJ want they wanted?



 Abbe David Lowell
 Partner
 Winston & Strawn LLP
 1901 L Street, N.W.
 Washington, DC 20036
 D: +1
 F: +1

 200 Park Avenue
 New York, NY 10166-4193

 D: +1

 F: +1

 VCard | Email | winston.com




 -----Original Message-----
 From: William C. McCorriston <WMcCorriston@                    >
 Sent: Thursday, August 27, 2020 10:04 PM
 To: Lowell, Abbe <ADLowell@                   >
 Subject: Nickie’s emails not getting through to me for waiver. Can you try contact her? Not picking up my
 calls/texts



 Sent from my iPhone
